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UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
CHAMBERS OF 6500 Cherrywood Lane
Paula Xinis Greenbelt, MD 20770
UNITED STATES DISTRICT JUDGE (301) 344-0653

March 25, 2025
Re:  25-cv-951, Abrego Garcia et al. v. Noem et al.

LETTER ORDER
Dear Parties:

Pending before the Court is Plaintiffs’ Emergency Motion for Temporary Restraining
Order. ECF No. 2. The Court may only issue a temporary restraining order without notice to the
nonmoving party if the moving party provides the Court with an affidavit or verified complaint
that “clearly show[s] that immediate and irreparable injury, loss, or damage will result to the
movant before the adverse party can be heard” and “the movant’s attorney certifies in writing
any efforts made to give notice [to the nonmoving party] and the reasons why it should not be
required.” Fed. R. Civ. P. 65(b). No such attorney certification is attached to the motion.

Plaintiffs have averred that counsel will email his filings to contacts at the United States
Attorney’s Office in Greenbelt, Maryland. ECF No. 2 at 2. Counsel, however, has not provided
any confirmation of this. Nor has counsel explained why the Court should dispense with the
notice requirement and take the unusual step of reaching the motion ex parte. Accordingly,
because Plaintiffs failed to comply with Federal Rule of Civil Procedure 65, the motion at ECF
No. 2 is denied without prejudice to refile.

Although informal, this correspondence constitutes an Order of the Court and shall be
docketed as such.

Sincerely,

/s/
PAULA XINIS
United States District Judge

